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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     SOMACHY KEO
 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,        )   CR.S. 08-512-JAM
11                                    )
                    Plaintiff,        )   STIPULATION AND ORDER
12                                    )   TO EXTEND TIME FOR STATUS
          v.                          )   CONFERENCE AND EXCLUDE TIME
13                                    )
     SARET NOSAR, et al.,             )   DATE: July 28, 2009
14                                    )   Time: 9:30 a.m.
                    Defendant.        )   Judge: John A. Mendez
15   ______________________________
16

17        Defendant SOMACHY KEO by and through his counsel, DENNIS S.
18   WAKS, Supervising Assistant Federal Defender, MICHAEL D. LONG,
19   attorney for SARET NOSAR, EDWARD M. ROBINSON, attorney for KANARY
20   KHIN, CLARENCE EMMETT MAHLE, attorney for PANG YEAN and the
21   United States Government, by and through its counsel, BENJAMIN B.
22   WAGNER, Assistant United States Attorney, hereby stipulate that
23   the status conference set for June 9, 2009 be rescheduled for a
24   status conference hearing on Tuesday, July 28, 2009 at 9:30 a.m.
25       This continuance is being requested because defense counsel
26   requires additional time to review discovery and to conduct
27   further investigation on this case.      The Cambodian Interpreter
28   will be available for court on July 28, 2009.

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 1        Speedy trial time is to be excluded from the date of this
 2   order through the date of the status conference hearing set for
 3   July 28, 2009 pursuant to 18 U.S.C. § 3161 (h)(8)(B)(iv),
 4   [reasonable time to prepare] (Local Code T4).
 5   DATED: June 3, 2009
 6                                       Respectfully Submitted,
 7                                       DANIEL J. BRODERICK
                                         Federal Defender
 8
                                         /s/ Dennis S. Waks
 9                                       Supervising Assistant
                                         Federal Defender
10                                       Attorney for Defendant
                                         SOMACHY KEO
11
     DATED:    June 3, 2009              /s/ Dennis S. Waks on behalf of
12                                       MICHAEL D. LONG
                                         Attorney for Defendant
13                                       SARET NOSAR
14   DATED:    June 3, 2009              /s/ Dennis S. Waks on behalf of
                                         EDWARD M. ROBINSON
15                                       Attorney for Defendant
                                         KANARY KHIN
16

17
     DATED:    June 3, 2009              /s/ Dennis S. Waks on behalf of
18                                       CLARENCE E. MAHLE
                                         Attorney for Defendant
19                                       PANG YEAN
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 1   DATED:    June 3, 2009              LAWRENCE G. BROWN
                                         Acting United States Attorney
 2

 3                                       /s/ Dennis S. Waks on behalf of
                                         BENJAMIN B. WAGNER
 4                                       Assistant U.S. Attorney
 5
     SO ORDERED.
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 7   Dated: June 4, 2009
 8                                       /s/ John A. Mendez
                                         JOHN A. MENDEZ
 9                                       United States District Court Judge
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